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                    EXHIBIT K
UCC FINANCING STATEMENT
                       Case 4:23-cv-00609-BJ Document 1-11 Filed 06/15/23                                                                    Page 2 of 4 PageID 315
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Annie Bolding 71364 76884
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                              FILING NUMBER: 21-0033946684
     Annie Bolding                                                                                                         FILING DATE: 08/06/2021     04:31 PM
     600 Travis Street, Suite 2350                                                                                         DOCUMENT NUMBER: 1070515240003
     Houston, TX 77002-77002                                                                                               FILED: Texas Secretary of State
                                                                                                                           IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
     USA                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME

    OR
         1b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                       SUFFIX
          Johnson                                                      Cole                                                        Wayne
1c. MAILING ADDRESS                                                    CITY                                                   STATE         POSTAL CODE                           COUNTRY
    1301 Old Tin Top Rd.                                               Weatherford                                                 TX        76087                                USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                       SUFFIX


2c. MAILING ADDRESS                                                    CITY                                                   STATE         POSTAL CODE                           COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          BancorpSouth Bank
    OR
         3b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                       SUFFIX


3c. MAILING ADDRESS                                                    CITY                                                   STATE         POSTAL CODE                           COUNTRY
    2800 North Loop, Suite 1000                                        Houston                                                     TX        77092-77092                          USA
4. COLLATERAL: This financing statement covers the following collateral:
EXHIBIT A
to
UCC-1 FINANCING STATEMENT

Debtor:Secured Party:Cole Wayne Johnson
1301 Old Tin Top Rd.
Weatherford, TX 76087
BancorpSouth Bank, as Administrative Agent
2800 North Loop West, Suite 1000
Houston, TX 77092


DESCRIPTION OF COLLATERAL

Pursuant to that certain Pledge Agreement and Irrevocable Proxy between
the Debtor and the Secured Party dated August 6, 2021 (the "Pledge Agreement"),
this Financing Statement covers all of Debtor's right, title and interest in the
following property, whether now or hereafter existing, owned or acquired by
Debtor, and wherever located, (collectively, the "Collateral"):
(a) All Pledged Interests and any other Pledged Property whether now or

5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r    held in a Trust (see UCC1Ad, item 17 and Instructions) r  being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                          6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                 A Debtor is a Transmitting Utility r·Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor        r     Consignee/Consignor       r   Seller/Buyer     Bailee/Bailor     Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
page 2
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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here

         9a. ORGANIZATION'S NAME
   OR
         9b. INDIVIDUAL'S SURNAME
         Johnson
         FIRST PERSONAL NAME
         Cole
         ADDITIONAL NAME(S)/INITIAL(S)                                         SUFFIX
         Wayne                                                                                         THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full
name; do not omit, modify, or abbreviate any part of the Debtor's name) and enter the mailing address in line 10c
       10a. ORGANIZATION'S NAME
  OR

         10b. INDIVIDUAL'S SURNAME


        INDIVIDUAL'S FIRST PERSONAL NAME


        INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                             SUFFIX


10c. MAILING ADDRESS                                                CITY                                        STATE          POSTAL CODE                     COUNTRY


11. r   ADDITIONAL SECURED PARTY'S NAME QI r           ASSIGNOR SECURED PARTY'S NAME: Provide only one name (11a or 11b)
         11a. ORGANIZATION'S NAME

  OR
         11 b. INDIVIDUAL'S SURNAME                                 FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)                  SUFFIX


11c. MAILING ADDRESS                                                CITY                                        STATE          POSTAL CODE                     COUNTRY


12. ADDITIONAL SPACE FOR ITEM 4 (Collateral)


hereafter delivered to the Secured Party in connection with the Pledge
Agreement;
(b) all Distributions, interest, and other payments and rights with
respect to such Pledged Property; and
(c) all Proceeds of the foregoing.
As used in this Description of Collateral, the following terms shall have
the following definitions:
"Equity Interests" means, with respect to any Person, (a) shares of
capital stock of (or other ownership or profit interests in) such Person, (b)
warrants, options or other rights for the purchase or acquisition from such



13. rThis FINANCING STATEMENT is to be filed [for record] (or       14 - This FINANCING STATEMENT
recorded) in the REAL ESTATE RECORDS (if applicable)                r covers timber to be cut r covers as-extracted collateral ris filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate               16. Description of real estate:
described in item 16 (if Debtor does not have a record interest):




17. MISCELLANEOUS:
page 3
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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here

        9a. ORGANIZATION'S NAME

  OR
        9b. INDIVIDUAL'S SURNAME
        Johnson
        FIRST PERSONAL NAME
        Cole
       ADDITIONAL NAME(S)/INITIAL(S)                                       SUFFIX
        Wayne                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

4. This FINANCING STATEMENT covers the following collateral:


Person of shares of capital stock of (or other ownership or profit interests in)
such Person, (c) securities (other than Indebtedness) convertible into or
exchangeable for shares of capital stock of (or other ownership or profit
interests in) such Person or warrants, rights or options for the purchase or
acquisition from such Person of such shares (or such other interests), (d) all
other ownership or profit interests in such Person (including partnership,
member or trust interests therein), whether voting or non-voting, and whether or
not such shares, warrants, options, rights or other interests are outstanding
on any date of determination and (e) any Security Entitlement in respect of any
Equity Interest described in this definition.
"Distributions" means all dividends paid on Equity Interests, liquidating
dividends paid on Equity Interests, shares (or other designations) of Equity
Interests resulting from (or in connection with the exercise of) stock splits,
reclassifications, warrants, options, non-cash dividends, mergers,
consolidations, and all other distributions (whether similar or dissimilar to
the foregoing) on or with respect to any Equity Interests constituting
Collateral.
"Investment Property", "Proceeds", and "Security Entitlement" have the
meaning provided in Article 8 or Article 9, as applicable, of the UCC. All
references to a particular section of the UCC or the Uniform Commercial Code
shall be to the appropriate section of the applicable UCC or Uniform Commercial
Code (e.g., a reference to Section 9-106 of the UCC in this Pledge Agreement
means, with respect to the UCC as in effect in the State of Texas, a reference
to Section 9.106 of such UCC).
"Pledged Interests" means all partnership interests and membership
interests or other non-corporate ownership interests of Debtor in each Pledged
Interests Issuer; all registrations, certificates, articles, by-laws,
regulations, partnership agreements, operating agreements, limited liability
company agreements or constitutive agreements governing or representing any such
interests; all options and other rights, contractual or otherwise, at any time
existing with respect to such interests, as such interests are amended,
modified, or supplemented from time to time, and together with any interests in
any Pledged Interests Issuer taken in extension or renewal thereof or
substitution therefor.
"Pledged Interests Issuer" means each of Bridgelink Engineering, LLC,
Bighorn Construction and Reclamation L.L.C., and Bighorn Investments and
Properties, LLC.
"Pledged Property" means all Pledged Interests, all assignments of any
amounts due or to become due with respect to the Pledged Interests, all other
Investment Property which are now being delivered by Debtor to the Secured Party
or may from time to time hereafter be delivered by Debtor to the Secured Party
for the purpose of pledge under the Pledge Agreement or any other Loan Document,
as that term is defined in that certain Credit Agreement described in the
Pledge Agreement, and all proceeds of any of the foregoing.

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